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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO (SAN JUAN)

 

EFRAIN COLON-MORCIGLIO,
RAQUEL PIZZARRO-OQUENDO,
CONJUGAL PARTNERSHIP
COLON-PIZARRO,

Plaintiffs,

CIVIL ACTION
NO. 17-02312-WGY

V.

UNITED STATES OF AMERICA,

Defendant.

 

YOUNG, D.J.1 January 2, 2019

ORDER

Motion denied without prejudice to its renewal supported by
good cause shown. The failure of the government to discharge its
litigation obligations will occasion an appropriate sanction.

Lapses in appropriations are nothing new. I can think of
four during my tenure without consulting any record. Such lapses
are not in any sense government “policy”; rather - let us talk
plainly - they are simply an abdication by the President and the
Congress (which could override a presidential veto) of the duty

to govern responsibly to the end that all the laws may be

 

1 Of the District of Massachusetts, sitting by designation.

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faithfully executed. Nor does such a lapse in any way excuse
this Court from exercising its own Constitutional functions.

Imagine a major corporation engaged in various litigation
both as plaintiff and defendant. For whatever reason, it decides
not to pay its attorneys and instructs them not to interact with
the Court lest they have a plausible claim on the corporation
for their services. Then the corporation says to the Court, “We
greatly regret any disruption caused to the court and to other
litigants, but please stay all proceedings until we get our act
together.” This does not constitute “good cause” for any stay.
In fact, it is laughable.

A lapse in appropriations cannot delay or deny American
jurors their constitutional right to adjudicate cases ready for
trial. It cannot delay or deny other litigants their
constitutional right to their day in federal court or any
preliminary step necessary to get there.

Appropriation or no, this Court will continue to sit daily,
attending to the quotidien details of getting all cases ready
for trial and trying them in a timely fashion as required by the
Constitution.

SO ORDERED.

By the Court,

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WILLIAM G.
DISTRICT J GE

    
    

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